









&nbsp;

NUMBER 13-99-161-CV 



COURT OF APPEALS 

THIRTEENTH DISTRICT OF TEXAS 

CORPUS CHRISTI 

____________________________________________________________________ 



STATESMAN NATIONAL LIFE INSURANCE COMPANY, Appellant, 



v. 



JO ANNE H. NASH, Appellee. 

____________________________________________________________________ 



On appeal from the 92nd District Court 

of Hidalgo County, Texas. 

____________________________________________________________________ 



O P I N I O N 



Before Justices Hinojosa, Yañez, and Chavez 

Opinion Per Curiam 



Appellant, STATESMAN NATIONAL LIFE INSURANCE COMPANY, perfected an
appeal from a judgment entered by the 92nd District Court of Hidalgo
County, Texas, in cause number C-0071-98-A. The clerk's record was filed
on May 4, 1999. The reporter's record was filed on February
3, 2000. Appellant's brief was due on March 6, 2000. To date, no
appellate brief has been received. 

When the appellant has failed to file a brief in the time prescribed, the Court may
dismiss the appeal for want of prosecution, unless the appellant reasonably explains the
failure and the appellee is not significantly injured by the appellant's failure to timely
file a brief. Tex. R. App. P. 38.8(a)(1). 

On March 17, 2000, notice was given to all parties that this appeal
was subject to dismissal pursuant to Tex. R. App. P. 38.8(a)(1). Appellant was given ten
days to explain why the cause should not be dismissed for failure to file a brief. To
date, no response has been received. 

The Court, having examined and fully considered the documents on file, appellant's
failure to file a proper appellate brief, this Court's notice, and appellant's failure to
respond, is of the opinion that the appeal should be dismissed for want of prosecution.
The appeal is hereby DISMISSED FOR WANT OF PROSECUTION. 

PER CURIAM 



Do not publish. 

Tex. R. App. P. 47.3. 

Opinion delivered and filed 

this the 13th day of April, 2000 





